                     IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-121

                                            No. 416A20

                                       Filed 29 October 2021

     IN THE MATTER OF: Z.M.T.


            On writ of certiorari pursuant to N.C.G.S. § 7A-32(b) to review orders entered

     on 11 June 2020 by Judge Keith B. Mason in District Court, Beaufort County. This

     matter was calendared and heard before the Supreme Court on 30 August 2021.


            Miller &amp; Audino, LLP, by Jay Anthony Audino, for petitioner-appellee Beaufort
            County Department of Social Services.

            Thomas N. Griffin, III, for appellee Guardian ad Litem.

            Mary McCullers Reece for respondent-appellant mother.


            BERGER, Justice.

¶1          Respondent-mother appeals from an order terminating her parental rights.1

     We affirm.


                             I.     Factual and Procedural History


¶2          On May 31, 2019, the Beaufort County Department of Social Services (DSS)

     received a report alleging that respondent-mother was using heroin and cocaine in

     the presence of her two children. Respondent-mother was eight months pregnant at


            1 The biological father’s parental rights were terminated in the same order; however,

     he did not appeal.
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     the time. On June 7, 2019, respondent-mother gave birth to a minor child, Zoe,2 who

     tested positive for heroin and cocaine. DSS received additional child protective

     services reports on June 8 and 9, 2019.

¶3         Respondent-mother received education on appropriate care for a newborn

     child, but she appeared agitated when the issue of improper handling of Zoe arose.

     These instances caused concern amongst hospital staff regarding the ability of

     respondent-mother and Zoe’s father to provide appropriate care for the child. After

     an argument with Zoe’s father and against the advice of her doctor, respondent-

     mother checked herself out of the hospital, leaving Zoe alone in the hospital without

     a parent on the premises. As a result, Zoe was sent to the Special Care Unit. While

     there, she was prescribed morphine to help curtail her withdrawal symptoms.

¶4         On June 20, 2019, DSS filed a petition alleging that Zoe and her two siblings

     were neglected juveniles. The petition recited the above facts, and an adjudication

     hearing was held on July 24, 2019. Respondent-mother consented to entry of an order

     in which Zoe was adjudicated a neglected juvenile. On August 7, 2019, the trial court

     entered a dispositional order which set the permanent plan as reunification with a

     concurrent plan of adoption.        Respondent-mother was ordered to complete a

     psychological evaluation, individual therapy, parenting classes, obtain and maintain




           2 A pseudonym is used to protect the minor child’s identity and for ease of reading.
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     stable housing and employment, and engage in substance abuse treatment and

     recovery therapy.

¶5           On November 13, 2019, respondent-mother tested positive for morphine,

     cocaine, benzoylecgonine, and opiates.    Respondent-mother refused to submit to

     subsequent drug screens on January 2, January 7, January 29, and February 18,

     2020.

¶6           On January 22, 2020, a permanency planning hearing was conducted. The

     trial court determined that barriers to reunification existed due to respondent-

     mother’s substance abuse, inconsistent parenting, mental health issues, and decision-

     making.     Additionally, the trial court’s permanency planning order detailed

     respondent-mother’s attempts to comply with the dispositional order. The court

     found that after completing her psychological evaluation, respondent-mother was

     diagnosed with “Opioid Use Disorder and Other Specified Depressive Disorder.”

     Further, the court found that respondent-mother was not honest with the examiner

     and that she had failed to seek therapy and related medication. The court also found

     that respondent-mother was still in need of meaningful substance abuse treatment

     and employment. Ultimately, the trial court concluded that respondent-mother had

     failed to make sufficient progress within a reasonable period of time under her case

     plan and that additional progress was required.
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¶7         Based on the above findings, the trial court ordered respondent-mother to

     comply with recommended treatment, attend therapy, obtain and maintain stable

     housing and employment, attend parenting classes, and submit to random drug

     testing.   The order specifically found that “[respondent-mother] was given an

     opportunity to discuss this order with her attorney . . . prior to its entry. [Respondent-

     mother] understands the requirements that this order places upon her; she consents

     to the decretal portion of this order.” Notably, the last entry in the decretal portion

     of the order stated “[t]his matter shall be scheduled for a permanency planning

     hearing on June 10, 2020.”

¶8         On March 27, 2020, before the scheduled permanency planning hearing, DSS

     filed a motion to terminate respondent-mother’s parental rights based on neglect and

     dependency pursuant to N.C.G.S. § 7B-1102.           Respondent-mother did not file a

     responsive pleading or otherwise address the allegations in the motion to terminate

     parental rights. Notice of the motion was sent to respondent-mother’s counsel, who

     had represented her at the adjudication hearing in July 2019, the dispositional

     hearing in August 2019, and the first permanency planning hearing in January 2020.

¶9         Prior to filing of the motion to terminate parental rights, respondent-mother

     was arrested and charged with three counts of manufacturing, selling or delivering a
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       controlled substance3 within 1000 feet of a school, one count of maintaining a dwelling

       or place for controlled substances, one count of possession of drug paraphernalia, one

       count of robbery with a deadly weapon, and one count of assault with a deadly weapon

       inflicting serious injury.4 Between March and June 2020, respondent-mother did not

       make any effort to visit with Zoe.

¶ 10         Hearing on the motion to terminate parental rights was scheduled for June 10,

       2020, the same day as the previously scheduled second permanency planning

       hearing. Respondent-mother did not appear in court. Respondent-mother’s counsel

       moved to continue the case and stated in open court that she sent notice of the hearing

       to respondent-mother, who was “generally present in court for such hearing[s].” The

       trial court denied the motion and the hearing proceeded without further inquiry.

¶ 11         DSS called one witness during the grounds phase of the hearing and a different

       witness during the best interests phase. Respondent-mother’s counsel did not cross-

       examine either witness, did not offer any witnesses on respondent-mother’s behalf,

       and declined to offer a closing argument. On June 11, 2020, the trial court terminated

       respondent-mother’s parental rights, concluding that grounds existed pursuant to

       N.C.G.S. § 7B-1111(a)(1) and (6), and that termination was in Zoe’s best interests.



             3 On February 25, 2020, respondent-mother was found with Zoe’s father and 2.5 grams

       of cocaine, 1.5 grams of heroin, and 20 grams of marijuana.
               4 On January 15, 2020, respondent-mother was arrested for assault with a deadly

       weapon inflicting serious injury and robbery with a dangerous weapon after she took the
       victim’s car and wallet following an altercation.
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¶ 12          The trial court determined that respondent-mother had not taken advantage

       of the multiple opportunities she was provided to work towards regaining custody of

       Zoe. Instead, respondent-mother failed to complete therapy, refused to take drug

       tests, was charged with both drug and violent offenses, stopped visiting with Zoe, and

       admitted to increased heroin use. The trial court further found that respondent-

       mother’s lack of stable housing and instability contributed to her inability to care for

       Zoe and that respondent-mother’s actions “present[ed] the risk of severe harm to the

       child, including a real risk of serious bodily harm or injury to the child.” Based on

       these findings, the trial court concluded that “grounds exist to terminate the parental

       rights of [respondent-mother] . . . under N.C.G.S. Sections 7B-1111(a)(1)&amp;(6).”

¶ 13         During the trial court’s best interest determination, it incorporated the above

       findings and further found there was a “high likelihood that [Zoe] will be adopted by

       her current foster parents” because of the strong bond Zoe had developed with them.

       Such a bond, the trial court found, did not exist in the “attenuated relationship”

       between Zoe and respondent-mother. Moreover, the trial court found that it was

       “evident   that   further   reunification   efforts   with   [respondent-mother   were]

       inconsistent with the juvenile’s health, safety, and welfare.” As a result, the trial

       court concluded it to be in Zoe’s best interest for respondent-mother’s parental rights

       to be terminated.

¶ 14         Respondent-mother appeals, arguing that the trial court failed to ensure that
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       respondent-mother received effective assistance of counsel.

                                           II.     Analysis


¶ 15         A parent in a termination of parental rights proceeding has a statutory right

       to counsel pursuant to N.C.G.S. § 7B-1101.1, which inherently requires effective

       assistance from that counsel. See In re T.N.C., 375 N.C. 849, 854, 851 S.E.2d 29, 32

       (2020) (“Counsel necessarily must provide effective assistance, as the alternative

       would render any statutory right to counsel potentially meaningless.”).

¶ 16         To succeed in a claim for ineffective assistance of counsel, respondent must

       satisfy a two-prong test, demonstrating that (1) counsel’s performance was deficient;

       and (2) such deficient performance by counsel was so severe as to deprive respondent

       of a fair hearing. State v. Braswell, 312 N.C. 553, 562, 324 S.E.2d 241, 248 (1985).

       “To make the latter showing, the respondent must prove that ‘there is a reasonable

       probability that, but for counsel’s errors, there would have been a different result in

       the proceedings.’ ” In re T.N.C., 375 N.C. 849, 854, 851 S.E.2d 29, 33 (2020) (quoting

       Braswell, 312 N.C. at 563, 324 S.E.2d at 248).

¶ 17         Assuming without deciding that counsel’s performance was deficient,

       respondent-mother cannot prevail on her ineffective assistance of counsel claim

       because she has failed to demonstrate that she was prejudiced by any alleged

       deficiency in performance by counsel.       Respondent-mother does not argue, and

       therefore cannot show, that there was a reasonable probability of a different result.
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       Respondent-mother has not challenged on appeal the trial court’s findings of fact or

       conclusions of law that the grounds for termination pursuant to N.C.G.S. § 7B-

       1111(a)(1) and (6) exist or that the termination was in Zoe’s best interest.       We

       therefore affirm the trial court’s order terminating respondent-mother’s parental

       rights.

                                         III.    Conclusion


¶ 18         Respondent-mother has failed to demonstrate that, but for such the alleged

       deficiency by counsel, there was a reasonable probability of a different result. The

       trial court’s order terminating respondent-mother’s parental rights is affirmed.

             AFFIRMED.
             Justice EARLS dissenting.

¶ 19         “When the State moves to destroy weakened familial bonds, it must provide

       the parents with fundamentally fair procedures.” Santosky v. Kramer, 455 U.S. 745,

       753–54 (1982). A vital aspect of a fundamentally fair termination proceeding is a

       parent’s “right to counsel, and to appointed counsel in cases of indigency.” N.C.G.S.

       § 7B-1101.1(a) (2019). This statutory right to counsel necessarily includes a right to

       effective counsel. In re T.N.C., 375 N.C. 849, 854 (2020). Otherwise, a parent’s right

       to counsel would be rendered meaningless. See State v. Sneed, 284 N.C. 606, 612
       (1974) (stating that the right to counsel “is not intended to be an empty formality but

       is intended to guarantee effective assistance of counsel.”); see also In re Bishop, 92

       N.C. App. 662, 664 (1989) (“By providing a statutory right to counsel in termination

       proceedings, our legislature has recognized that this interest must be safeguarded by

       adequate legal representation.”).

¶ 20         In this case, respondent-mother’s counsel’s allegedly deficient performance

       appears to have deprived her of the opportunity to develop a record which could

       support her contention that she received ineffective assistance of counsel (IAC).

       Rather than examine her IAC claim, the majority assumes without deciding that

       counsel’s performance was deficient, before summarily concluding that she could not

       have received IAC because she could not have been prejudiced. But this reasoning

       places respondent-mother in an impossible bind. If it is correct that her counsel’s
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       performance was so deficient that it deprived her of the opportunity to develop a

       record which would support her claim of prejudice, then denying her claim without

       further factfinding means she could never prove prejudice, even if she did indeed

       receive IAC.

¶ 21         The majority’s decision gives short shrift to an important guarantor of the

       fairness of our juvenile system. In my view, the record plausibly supports respondent-

       mother’s claim that her counsel’s performance during the termination proceedings

       was deficient. Further, counsel’s performance appears to have deprived respondent-

       mother of a record which allows this Court to meaningfully assess whether or not

       counsel’s performance was actually deficient and whether she was prejudiced

       thereby. Under these circumstances, I believe the proper course is to remand to the

       trial court for further factfinding in order to ensure that a decision implicating her

       fundamental rights as a parent is based upon an adequately developed record.

       Therefore, I respectfully dissent.

            I.   The ineffective assistance of counsel standard in termination
                                          proceedings

¶ 22         The standard for assessing a parent’s claim to have received IAC in a

       termination proceeding mirrors the standard utilized for assessing a criminal

       defendant’s claim to have received IAC at trial. “To prevail on a claim of ineffective

       assistance of counsel, respondent must show that counsel's performance was deficient

       and the deficiency was so serious as to deprive her of a fair hearing.” In re T.N.C.,
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       375 N.C. at 854. “To make the latter showing, the respondent must prove that ‘there

       is a reasonable probability that, but for counsel's errors, there would have been a

       different result in the proceedings.’ ” Id. (quoting State v. Braswell, 312 N.C. 553, 562
       (1985)). Thus, as when a criminal defendant raises an IAC claim on appeal, a

       respondent-parent who raises an IAC claim on appeal of an order terminating his or

       her parental rights must prove that counsel’s performance was deficient and that he

       or she was prejudiced thereby.

¶ 23         However, there is an important procedural difference which is relevant when

       an appellate court addresses an IAC claim raised on appeal by a criminal defendant

       as opposed to one raised by a respondent-parent. If a criminal defendant does not

       prevail on appeal, the defendant can still challenge certain errors allegedly

       committed by the trial court by filing a motion for appropriate relief (MAR). N.C.G.S.

       § 15A-1420 (2019). When a criminal defendant raises an IAC claim on appeal, but the

       record is insufficient to knowledgably determine the merits of the defendant’s claim,

       an appellate court may dismiss the claim without prejudice to be considered on

       defendant’s subsequent MAR. This is the proper course whenever “[t]he record

       developed at trial d[oes] not contain any information affirmatively tending to show”

       an evidentiary basis for deciding whether an IAC claim has been proven. State v.

       Hyman, 371 N.C. 363, 384 (2018).

¶ 24         By contrast, after a termination proceeding has concluded, a respondent-
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       parent lacks an avenue to challenge the fairness of the proceedings except on direct

       appeal. There is no procedural vehicle for bringing a post-judgment MAR. This

       creates a significant hurdle for respondent-parents who allege they received IAC

       during a termination proceeding. As we have noted in the criminal context, “because

       of the nature of IAC claims, defendants likely will not be in a position to adequately

       develop many IAC claims on direct appeal.” State v. Fair, 354 N.C. 131, 167 (2001).

       The same can be true in the termination of parental rights context also.

¶ 25         A respondent-parent who alleges IAC does not have the same opportunity to

       develop a factual record in support of his or her claim on post-conviction review as a

       criminal defendant. In part, this is by design. In the juvenile context, the interests of

       the juvenile in obtaining a secure, permanent placement weigh against allowing

       proceedings to continue after a termination order has been entered. Nevertheless, the

       importance of the parent’s interest at stake in a termination proceeding, and the need

       to assure that every parent receives the fundamental procedural protections to which

       he or she is constitutionally entitled, require that an appellate court carefully

       scrutinize every credible IAC claim raised on direct appeal from a termination

       proceeding. In a case where the record is insufficient to allow a reasoned disposition

       of the parent’s IAC claim—and especially in a case where the insufficiency appears

       to result from counsel’s performance—an appellate court should reverse the order

       terminating the respondent-parent’s parental rights and remand for an evidentiary
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       hearing. Cf. In re B.L.H., 239 N.C. App. 52, 62–63 (2015). I believe precisely this

       action is warranted in the present case.

           II. Respondent-mother has plausibly alleged that her counsel was
           deficient by failing to provide adequate notice and failing to advocate
                          on her behalf at her termination hearing

¶ 26         The majority “assum[es] without deciding that counsel’s performance was

       deficient.” It is of course generally appropriate for an appellate court to dispose of a

       case on the narrowest grounds possible without resolving any unnecessary issues.

       Nonetheless, in my view, the better course in this case would have been to closely

       examine respondent-mother’s claim on both prongs, given that respondent-mother

       claims her counsel’s deficient performance deprived her of a record adequate to prove

       prejudice.

¶ 27         In this case, respondent-mother argues counsel was deficient in two ways.

       First, she contends that her attorney rendered deficient performance when the

       attorney failed to ensure that respondent-mother received notice of the date and time

       of the termination hearing. Second, she contends that her attorney rendered deficient

       performance when the attorney failed to advocate on her behalf at the termination

       proceeding conducted in respondent-mother’s absence. Although respondent-mother

       has raised plausible allegations which could meet her burden on the first prong of the

       IAC analysis, I believe the record does not contain critical information necessary to

       ascertaining whether counsel’s performance was deficient at the termination
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       proceeding due to these two alleged failures.

¶ 28         The transcript of the termination hearing reflects that when the proceeding

       began, respondent-mother was not present. Respondent-mother’s counsel joined

       respondent-father’s counsel’s motion to continue the hearing, representing that he

       had “sent notice of this hearing to my client” and that she “was generally present in

       court for such hearing[s].” The trial court denied the motion to continue. However,

       the record in this case reveals significant factual discrepancies regarding respondent-

       mother’s living situation which call into question whether her attorney’s efforts to

       provide notice of the termination hearing were adequate. Respondent-mother

       maintained multiple physical addresses up until the time of the termination hearing

       and moved to a new residence at least once during the pendency of the termination

       proceedings. She appeared for every prior substantive hearing during the termination

       proceeding.

¶ 29         An attorney may render deficient performance in a termination proceeding by

       failing to adequately communicate with a respondent-parent. Cf. In re B.L.H., 239

       N.C. App. at 63 (concluding that respondent-parent received IAC where “counsel did

       not make sufficient efforts to communicate with Respondent in order to provide him

       with effective representation and [ ] this failure deprived Respondent of a fair

       hearing”). Thus, in my view, the record raises meaningful questions regarding

       whether or not counsel’s efforts to communicate with respondent-mother and notify
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       her of the hearing, which cannot be answered without further factual development.

¶ 30         At the termination hearing, DSS called one witness during the adjudicatory

       stage and another witness during the dispositional stage. Respondent-mother’s

       counsel remained present in the courtroom while the hearing was conducted.

       However, counsel did not cross-examine either of DSS’ witnesses or raise any

       objections during their testimony. Counsel also chose not to present any evidence or

       offer any rebuttal witnesses on respondent-mother’s behalf. Counsel declined to offer

       any closing argument.

¶ 31         “It is well established that attorneys have a responsibility to advocate on behalf

       of their clients.” In re S.N.W., 204 N.C. App. 556, 560 (2010) (citing State v. Staley,

       292 N.C. 160 (1977)). It is possible there may be circumstances under which counsel’s

       choice to remain silent during a proceeding is strategic. Nonetheless, an appellate

       court is “is not at liberty to invent for counsel a strategic justification which counsel

       does not offer and which the record does not disclose.” State v. Allen, 2021-NCSC-88,

       ¶ 32. On the record as currently comprised, this Court cannot determine whether or

       not counsel’s failure to advocate on respondent-mother’s behalf at the termination

       hearing resulted from a strategic choice made after consultation, resulted from

       respondent-mother’s failure to provide counsel with the information she needed to

       represent her, or resulted from counsel’s own decisions or omissions. Accordingly, I

       would conclude that these questions must be resolved in an evidentiary hearing
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       before conclusively determining whether respondent-mother’s counsel rendered

       deficient performance at her termination hearing.

            III. Even if counsel rendered deficient performance, the record is
            inadequate to determine whether respondent-mother was prejudiced

¶ 32          To prove her IAC claim, respondent-mother must prove prejudice. To prove

       prejudice, she must show “a reasonable probability that, but for counsel’s errors, there

       would have been a different result in the proceedings,” that is, that the court would

       not have entered an order terminating respondent-mother’s parental rights. In re

       T.N.C., 375 N.C. at 854.1 In general, a parent meets this burden by identifying factual

       evidence which rebuts the trial court’s factual findings or legal arguments which

       undercut the trial court’s legal conclusion that grounds existed to terminate a

       respondent-parent’s parental rights and that doing so was in the best interests of the

       juvenile. In certain circumstances, this evidence and these arguments might be found

       in the record and transcript produced at trial.




              1 Although I acknowledge that our precedents equate the two ways of defining
       prejudice, arguably proof that an attorney’s deficient performance was “so serious as to
       deprive [a parent] of a fair hearing,” In re T.N.C., 375 N.C. 849, 854 (2020) (quoting In re
       Bishop, 92 N.C. App. 662, 669 (1989)), is not necessarily the same as evidence that “but for
       counsel's errors, there would have been a different result in the proceedings,” id. (quoting
       State v. Braswell, 312 N.C. 553, 563 (1985)). It is certainly possible that a proceeding that
       was fundamentally unfair could still have arrived at the same outcome that would have
       resulted from a fair proceeding. Regardless, I note that United States Supreme Court in
       Strickland emphasized that “the ultimate focus of inquiry must be on the fundamental
       fairness of the proceeding whose result is being challenged,” which suggests something other
       than a purely outcome-determinative test for assessing prejudice. Strickland v. Washington,
       466 U.S. 668, 696 (1984).
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¶ 33         In this case, the record and transcript do not and cannot support respondent-

       mother’s claim precisely because of her counsel’s failure to advance arguments on her

       behalf or advocate for her interests at the termination hearing. Again, it is not

       necessarily the case that counsel’s failure to file an answer, advocate at the hearing,

       cross examine any witnesses, or introduce evidence constituted deficient

       performance. However, if counsel’s actions were in fact so egregious as to constitute

       deficient performance, then it is profoundly unfair to reject respondent-mother’s

       claim on the grounds that the record produced by that counsel’s actions does not

       indicate that respondent-mother was prejudiced. Cf. Strickland v. Washington, 466

       U.S. 668, 710 (1984) (“The difficulties of estimating prejudice after the fact are

       exacerbated by the possibility that evidence of injury to the defendant may be missing

       from the record precisely because of the incompetence of defense counsel.”) (Marshall,

       J., dissenting). Again, the record does not allow us to determine one way or the other

       (1) whether counsel’s performance was deficient, (2) if so, whether counsel’s deficient

       performance resulted in the record being inadequate to assess prejudice, and

       (3) whether a fully developed record would support the conclusion that counsel

       rendered IAC. Thus, we do not have a sufficient record to determine the merits of

       respondent-mother’s IAC claim.

                                         IV. Conclusion

¶ 34         Proceedings which may result in the termination of a parent’s rights to the
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care, custody, and control of their child must be fair. It is inconsistent with this

fairness requirement to hold that in order to prevail on an IAC claim, a respondent-

parent must prove counterfactually that the outcome of the proceeding would have

been different but for counsel’s deficient performance, solely relying on a record

developed by an attorney whose allegedly deficient performance gives rise to the

claim. In this case, respondent-mother has plausibly alleged that her counsel

rendered deficient performance at her termination hearing. Further, counsel’s

actions appear to have deprived respondent-mother of a record which can support her

IAC claim, and deprived this Court of the record necessary to resolve it. Accordingly,

I respectfully dissent from the majority’s affirmance of the order terminating

respondent-mother’s parental rights. Instead, I would reverse the order and remand

for an evidentiary hearing to determine whether respondent-mother’s counsel’s

representation was deficient and if so, whether respondent-mother was prejudiced

thereby.
